Case 2:04-cV-02620-.]DB-tmp Document 56 Filed 07/05/05 Page 1 of 2 Pag |D 54

____ o.c.
IN THE uNI'rED sTATEs DISTRICT coURT mm BY "
FOR THE wEsTERN DlsTRIcT oF TENNESSEE _, , 59
wEsTERN DIVIsIoN 05 JUL 5 PH \

MEMPHIS PUBLIsHING Co., MD}QM
wm U: ji`=_.} wcu‘?\.“$
P1ainriff,
v. No. 04-2620-B/P
NEWSPAPER GUILD 01= MEMPHIS,
LOCAL 33091,
Defendant.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Expedited Motion to Stay Arbitration Pending Lawsuit filed
on June 27, 2005.

'I`his motion is referred to the United States Magistrate Iudge for determination and/or
report and recommendation Any objections to the magistrate judge’s order and/or report and
recommendation shall be made within ten (10) days after service of the order and/or report,
setting forth particularly those portions of the order and/or report objected to and the reasons
for the objections Failure to timely assign as error a defect in the magistrate judge’s order
and/ or report will constitute a waiver of that objection. _S__@ Rule 72(a), Federal Rules of Civil
Procedure.

IT IS SO ORDERED this~§ _day Of July, 2005.

55~5…

UDANIEL 'BREEN \
UITE STATES DISTRICT JUDGE

T'nls document entered on the docket she in compliance
with mile 55 and/or a2(b) Fnch on fZ ' ‘Q 5

 

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 56 in
case 2:04-CV-02620 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

EssEE

 

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Honorable J. Breen
US DISTRICT COURT

